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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                      CENTRAL DIVISION



 FRANK PARKER,                                        REPORT AND RECOMMENDATION

                 Plaintiff,
                                                         Case No. 2:11-cv-1127-CW-PMW
 v.

 THE STATE OF UTAH and SUSANNE
 GUSTIN,                                                  District Judge Clark Waddoups

                 Defendants.                             Magistrate Judge Paul M. Warner


       District Judge Clark Waddoups referred this case to Magistrate Judge Paul M. Warner

pursuant to 28 U.S.C. § 636(b)(1)(B).1 Before the court are Frank Parker’s (“Parker”) motion for

entry of a default certificate against Susanne Gustin’s (“Gustin”),2 Parker’s motion to strike

Gustin’s motion to dismiss,3 the State of Utah’s (“State”) motion to dismiss,4 and Gustin’s

motion to dismiss.5 The court has carefully reviewed the written memoranda submitted by the

parties. Pursuant to civil rule 7-1(f) of the Rules of Practice for the United States District Court

for the District of Utah, the court has concluded that oral argument is not necessary and will

determine the motions on the basis of the written memoranda. See DUCivR 7-1(f).


       1
           See docket no. 8.
       2
           See docket no. 21.
       3
           See docket no. 23.
       4
           See docket no. 11.
       5
           See docket no. 18.
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                                         BACKGROUND

       The following background facts are taken from Parker’s complaint or other documents

that are subject to judicial notice.6 Parker pleaded guilty to a sex offense in state court in 2004.

Gustin represented Parker during those proceedings. On December 9, 2011, Parker filed his

complaint in this case, in which Parker alleges claims for violations of 42 U.S.C. § 1983.7 In the

complaint, Parker asks this court to set aside the conviction and sentence he received as a result

of pleading guilty to the above-referenced offense and to award him $5 million in general,

special, and punitive damages. Parker also alleges that he received ineffective assistance of

counsel from Gustin during the above-referenced state court proceedings.

       On January 4, 2012, the State filed its motion to dismiss.8 Gustin filed her original

motion to dismiss on January 6, 2012,9 followed by an amended motion to dismiss on January




       6
          The court recognizes that rule 12(d) of the Federal Rules of Civil Procedure generally
requires a court to treat a motion to dismiss as a motion for summary judgment when matters
outside the complaint are considered. See Fed. R. Civ. P. 12(d). However, when the court
considers documents that are subject to judicial notice, such as public court records, that does not
require the court to treat a motion to dismiss as a motion for summary judgment. See Tellabs,
Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007); Grynberg v. Koch Gateway
Pipeline Co., 390 F.3d 1276, 1278 n.1 (10th Cir. 2004); City of Philadelphia v. Fleming Cos.,
Inc., 264 F.3d 1245, 1251 n.4 (10th Cir. 2001); Van Woudenberg v. Gibson, 211 F.3d 560, 568
(10th Cir. 2000).
       7
           See docket no. 3.
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           See docket no. 11.
       9
           See docket no. 13.

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30, 2012.10 On February 1, 2012, Parker filed his motion for entry of a default certificate against

Gustin. On February 7, 2012, Parker filed his motion to strike Gustin’s motion to dismiss.

                                       LEGAL STANDARDS

       The following legal standards govern the State’s and Gustin’s motions to dismiss, which

seek dismissal of Parker’s complaint under rule 12(b)(6) of the Federal Rules of Civil Procedure.

See Fed. R. Civ. P. 12(b)(6). In considering a motion to dismiss under rule 12(b)(6), the court

“accept[s] all well-pleaded facts as true and view[s] them in the light most favorable to the

plaintiff.” Jordan-Arapahoe, LLP v. Bd. of County Comm’rs, 633 F.3d 1022, 1025 (10th Cir.

2011). At the same time, the court is not required to accept conclusory allegations without

supporting facts. See Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).

       In Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009), the United States Supreme Court

recognized that while the pleading standard contained in rule 8 of the Federal Rules of Civil

Procedure “does not require ‘detailed factual allegations,’” it does demand “more than an

unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at 1949 (quoting Bell Atl.

Corp v. Twombly, 550 U.S. 544, 555 (2007)).

                A pleading that offers “labels and conclusions” or “a formulaic
                recitation of the elements of a cause of action will not do.” Nor
                does a complaint suffice if it tenders “naked assertion[s]” devoid of
                “further factual enhancement.”

                         To survive a motion to dismiss, a complaint must contain
                sufficient factual matter, accepted as true, to “state a claim to relief
                that is plausible on its face.” A claim has facial plausibility when
                the plaintiff pleads factual content that allows the court to draw the


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            See docket no. 18.

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               reasonable inference that the defendant is liable for the misconduct
               alleged.

Id. (quoting Twombly, 550 U.S. at 555, 557, 570) (alteration in original).

                                            ANALYSIS

       The motions before the court are (1) Parker’s motion for entry of a default certificate

against Gustin and motion to strike Gustin’s motion to dismiss, (2) the State’s motion to dismiss,

and (3) Gustin’s motion to dismiss. The court will address the motions in that order.

            I. Parker’s Motion for Entry of a Default Certificate Against Gustin
                     and Motion to Strike Gustin’s Motion to Dismiss

       Before reaching the State’s and Gustin’s motions to dismiss, the court will address

Parker’s motion for entry of a default certificate against Gustin and motion to strike Gustin’s

motion to dismiss. Both motions are predicated on Parker’s assertion that Gustin failed to file a

timely response to Parker’s complaint. That argument is without merit.

       Parker asserts that he served Gustin with a summons and the complaint on December 19,

2011. Gustin filed her first motion to dismiss on January 6, 2012, which was within the time

allowed for responding to Parker’s complaint. See Fed. R. Civ. P. 12(a)(1)(A)(i). A timely

motion to dismiss is an authorized and appropriate responsive pleading under the Federal Rules

of Civil Procedure and precludes entry of default. Because Gustin’s first motion to dismiss was a

timely response to Parker’s complaint, entry of a default certificate against Gustin is not

appropriate, and Gustin’s motion to dismiss should not be stricken. Accordingly, Parker’s

motion for entry of a default certificate against Gustin and his motion to strike Gustin’s motion to

dismiss should both be denied.



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                                   II. State’s Motion to Dismiss

       In its motion to dismiss, the State first argues that Parker’s claims against it should be

dismissed because they are not cognizable under 42 U.S.C. § 1983. The court agrees.

       States retain their immunity from suit under federal statutes in state or federal court. See

Alden v. Maine, 527 U.S. 706, 712-13 (1999). In addition, states, state subdivisions, and state

officials acting in their official capacities are not “persons” within the meaning of § 1983. See

Howlett ex rel. Howlett v. Rose, 496 U.S. 356, 365 (1990); Will v. Mich. Dep’t of State Police,

491 U.S. 58, 71 (1989). Parker has sued the State under 42 U.S.C. § 1983 and seeks $5 million

in money damages. The State is immune from such a lawsuit and cannot be sued under § 1983

as it is not a “person” within the meaning of that statutory provision. See Rose, 496 U.S. at 365;

Will, 491 U.S. at 71.

       Second, the State argues that Parker’s claims for ineffective assistance of counsel and to

have his conviction and sentence set aside are without merit. Again, the court agrees. Parker’s

claim for relief essentially challenges the legality of his underlying conviction and sentence.

Such a claim must be made exclusively through a petition for writ of habeas corpus or

post-conviction relief, first in the state courts, and then in the federal courts. See 28 U.S.C.

§ 2254(b)(1)(A) (requiring exhaustion of state remedies prior to filing a federal habeas claim);

Utah Code § 78B-9-104(1) (providing that a person convicted may file an action to vacate or

modify the conviction or sentence on grounds that the conviction or sentence was

unconstitutional or the petitioner had ineffective assistance of counsel). A plaintiff may not file a

civil rights complaint seeking to modify an underlying criminal judgment or for monetary



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damages related to the underlying criminal judgment, unless the plaintiff proves “that the

conviction or sentence has been reversed on direct appeal, expunged by executive order, declared

invalid by a state tribunal . . . , or called into question by a federal court’s issuance of a writ of

habeas corpus.” Heck v. Humphrey, 512 U.S. 477, 486-87 (1994); Preiser v. Rodriguez, 411

U.S. 475, 490 (1973) (“[H]abeas corpus is the appropriate remedy for state prisoners attacking

the validity of the fact or length of their confinement . . . .”).

        For the foregoing reasons, the court concludes that all of Parker’s claims against the State

fail as a matter of law. Accordingly, the State’s motion to dismiss should be granted.

                                   III. Gustin’s Motion to Dismiss

        In her motion to dismiss, Gustin presents several arguments. Parker failed to file a

response to Gustin’s motion. That alone is a basis for granting Gustin’s motion to dismiss. See

DUCivR 7-1(d) (“Failure to respond timely to a motion may result in the court[] granting the

motion without further notice.”). Nevertheless, the court will address Gustin’s arguments in turn.

        First, Gustin presents an identical argument to the second argument presented by the State

above. Above, the court agreed with that argument and concluded that Parker’s claims for

ineffective assistance of counsel and to have his conviction and sentence set aside must fail. The

court reiterates that conclusion with respect to Gustin’s arguments.

        Second, Gustin argues that Parker’s claims are time-barred under the relevant statute of

limitations. Parker’s civil rights claims are governed by Utah’s four-year statute of limitations.

See Buck v. Utah Labor Comm’n, 73 Fed. App’x 345, 348 (10th Cir. 2003); Mismash v. Murray

City, 730 F.2d 1366, 1367 (10th Cir. 1984); see also Utah Code § 78B-2-307(3). Parker entered



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his guilty plea in 2004, but did not commence this case until 2011, well past the four-year

limitation period. Consequently, Parker’s claims in this case are time-barred.

       Finally, Gustin argues that Parker’s civil rights claims against Gustin are not actionable

because Gustin was not a state actor or acting under the color of state law at the time she

represented Parker. In order to bring a § 1983 claim against Gustin, Parker must sufficiently

allege that the purported deprivation of his civil rights was committed by a state actor, or, at

minimum, under color of state law. See Lugar v. Edmondson Oil Co., Inc., 457 U.S. 922,

928-32, 937 (1982). Parker’s complaint fails to make sufficient allegations to that effect.

Instead, Parker merely alleges that Gustin “was employed by the State of Utah as a ‘Conflict

Attorney’ to represent” Parker.11 Such a conclusory allegation is insufficient as a matter of law.

Furthermore, while representing Parker, Gustin was actually adverse to the State and, therefore,

was not acting under color of state law. Polk v. Dodson, 454 U.S. 312, 325 (1981) (“[A] public

defender does not act under color of state law when performing a lawyer’s traditional functions

as counsel to a defendant in a criminal proceeding.”). For these reasons, the court concludes that

Parker has failed to provide sufficient allegations to establish that Gustin acted under color of

state law. Accordingly, Parker’s § 1983 claim against Gustin fails.

       Based on the foregoing, the court concludes that Parker’s claims against Gustin fail as a

matter of law. Accordingly, Gustin’s motion to dismiss should be granted.




       11
            Docket no. 3.

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                         CONCLUSION AND RECOMMENDATION

       In summary, IT IS HEREBY RECOMMENDED that:

       1.       Parker’s motion for entry of a default certificate against Gustin12 and motion to

                strike Gustin’s motion to dismiss13 be DENIED.

       2.       The State’s motion to dismiss14 be GRANTED.

       3.       Gustin’s motion to dismiss15 be GRANTED.

       4.       Parker’s complaint in this case be DISMISSED WITH PREJUDICE.

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       Copies of this Report and Recommendation are being sent to all parties, who are hereby

notified of their right to object. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). The parties

must file any objection to this Report and Recommendation within fourteen (14) days after

receiving it. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). Failure to object may constitute

waiver of objections upon subsequent review.

       DATED this 25th day of April, 2012.

                                              BY THE COURT:



                                              PAUL M. WARNER
                                              United States Magistrate Judge


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            See docket no. 21
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            See docket no. 23.
       14
            See docket no. 11.
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            See docket no. 18.

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